                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 MARIO TRICOCI HAIR SALONS &                    )
 DAY SPAS, LLC d/b/a Tricoci Salon and          )
 Spa, an Illinois corporation,                  )       Case No. 20-cv-07196
                                                )
                       Plaintiff,               )       Honorable Matthew F. Kennelly
                                                )
        v.                                      )       Hon. Mag. Gabriel A. Fuentes
                                                )
 CLAUDIA POCCIA and MOLLY SLOAT,                )
                                                )
                       Defendant.               )

   DEFENDANT MOLLY SLOAT’S SUPPLEMENTAL BRIEF IN OPPOSITION TO
      PLAINTIFF’S AMENDED MOTION FOR PRELIMINARY INJUNCTION


       NOW COMES Defendant, Molly Sloat, by and through her attorneys, Nielsen, Zehe &

Antas, P.C., and for her Supplemental Brief in Opposition to Plaintiff’s Amended Motion for

Preliminary Injunction (“Motion”), states as follows:

                                    I.    INTRODUCTION

       In November 2020, Tricoci was told that Defendant Molly Sloat has not and will not

disseminate Tricoci’s confidential information. However, the truth could not prevent Tricoci from

engaging in an unhinged and harassing legal crusade designed to punish Ms. Sloat for leaving the

company after 18 months of employment. Seven months of “expedited discovery” performed at

the insistence of Tricoci, including the production of tens of thousands of documents, extensive

briefing and fact depositions reveal that Tricoci’s allegations are patently false and based on

circumstantial evidence arising from fictitious facts. These seven months further confirm what Ms.

Sloat established in November 2020 – that she has not disseminated Tricoci’s confidential

information and that any information obtained by Sloat during her employment is without value.



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       Ms. Sloat sent Tricoci information to her personal email during her employment with the

company for the benefit of Tricoci and none of the information was ever disseminated to a third-

party. Yet Tricoci remains committed to an unprecedented and irrational position that Ms. Sloat

should be barred from working for her current employer. For the reasons set forth below as well

as the facts and arguments detailed in Sloat’s Opposition to Plaintiff’s Amended Motion for

Preliminary Injunction (ECF Dkt. No. 93), Defendant Tricoci’s Amended Motion for Preliminary

Injunction should be denied.

                                  II.     RELEVANT FACTS

A.     Tricoci’s Habitual Practice of Racial and Sexual Disparagement Caused Sloat to Seek
       Alternate Employment Opportunities.

       Tricoci asserts Sloat began collecting Tricoci information from the onset of her

employment in March 2019, allegedly for the benefit of a third-party. It is further implied that Ms.

Sloat resigned from her position with Tricoci in October 2020 for the purpose of sharing its

information with her current employer Frédéric Fekkai. These allegations could not be further

from the truth.

       Ms. Sloat began seriously considering alternate employment opportunities when it became

evident that the company’s values did not align with her own. (Ex. 1, Supp Sloat Dec at ¶ 1). She

further desired to leave a hostile work environment created by Tricoci CEO Chris Santiago. Id.

From the onset of her employment, Mr. Santiago had a history of losing his temper, raising his

voice and publicly degrading and demeaning employees within the organization. Id. at ¶ 2. He

often publicly expressed his displeasure that the financial compensation of a female consultant,

namely Claudia Poccia, was higher than his own. Id.




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        Mr. Santiago’s questionable conduct was emphasized during an executive leadership call

in April 2020. During the call, Mr. Santiago utilized an unknown filter to darken the pigment of

his skin, add an afro, gold chains and dental grill as a comedic effort to depict a person of color.

Id. at ¶ 3. Stunned that the CEO of a Chicago based salon servicing persons of color would engage

in this type of behavior, Ms. Sloat took a picture of the image. Id. at ¶3; see also Ex. 2, photograph

of Chris Santiago. When asked whether he ever posed in pictures mocking persons of color in a

stereotypical way or had ever worn what is referred to as “blackface” in front of other employees,

Mr. Santiago testified under oath that he had not. (Ex.3, Santiago Dep. at 25-28, 25:5-10: Q: Mr.

Santiago, have you ever in your career worn blackface in front of other employees? A: No. Q:

Have you ever posed in pictures mocking persons of color in a stereotypical way? A: No). Upon

being presented with the photograph, Mr. Santiago finally admitted that he had utilized an

unspecified and unknown Zoom filter to alter his appearance during the executive call but his

memory failed to allow him to explain or justify his actions. (Ex. 4, Santiago Dep at 29-31; 30:18-

31:1: Q: I just want to understand the context of this. Can you tell me what the purpose of this was

and explain to me why it was appropriate? A: I don’t know what meeting that was from. Q: You

just don’t recall? A: I don’t recall. We played music on some of our calls. It could have been that.

I don’t recall this meeting).1

        In approximately May 2020, a former Tricoci employee began a social media campaign to

allow current and former Tricoci employees to address years of systemic racism within the

organization. (Supp. Sloat Dec. at ¶ 4). Disappointed with Tricoci’s refusal to issue a public

statement or respond directly to the multiple allegations of inherent racism, Sloat sent a text to

Claudia Poccia to express her displeasure following a June 1, 2020 meeting where the issue was


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  Counsel for Tricoci also appeared concerned by Mr. Santiago’s behavior as demonstrated by her inappropriate
speaking objections and threats to call the Court during this line of questioning.

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addressed. Specifically, Sloat stated, “I can’t even put into words how awful this is. . . I’m just

having a real conflict of heart here. I can’t defend this. I can’t defend them. I can’t. . . I’m just

morally ripped apart. And just sick over this.” (Ex. 5, June 1, 2020 text message from Sloat to

Poccia).

       Sloat never disseminated Tricoci information nor did a third-party, including her future

employer, ever request it. A graphic designer by trade, Ms. Sloat sought employers who valued

her work ethic and integrity and her job search included multiple companies outside the hair care

industry. Id. at ¶6. Her decision to leave Tricoci was not motivated by a desire to disseminate

invaluable and stale Tricoci information to a future employer but rather to remove herself from a

toxic work environment.

B.     Sloat Forwarded Herself Tricoci Information to Work From Home for the Benefit of
       Tricoci and Never Disseminated this Information to a Third-party.

       Tricoci goes to great lengths to point out various documents Sloat forwarded to her

personal email accounts while employed by the company. Sloat does not deny that she forwarded

herself Tricoci documents to work on her home desktop computer for the benefit of Tricoci. Sloat

also forwarded publicly available Tricoci documents such as photographs so that she could add

them to her creative portfolio. (Ex. 6, Sloat deposition at 20:6-12; A: I would occasionally forward

documents to myself for the purpose of accessing them from my home. Q: And for putting them

in your creative portfolio, as you counsel indicated in this email, right? A: Yes, that’s correct). At

no time was Ms. Sloat informed or did she believe that sending herself Tricoci documents for the

purpose of performing work from home was in violation of Tricoci company policy. (Ex. 7, Sloat

deposition pp. 64-65; Q: Would you agree, Ms. Sloat, that sending yourself information from

Tricoci e-mail address to your personal e-mail address constitutes removing it? A: No, that was

not the way I understood it. I often performed work at home. I often sent things between e-mails.

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And then with the onset of COVID, was regularly working from home and needed to work on a

larger screen. And so in order to be able to do my duties, I made it as easy for myself to be able to

do those duties as possible).

        Plaintiff’s alleged “smoking gun” consists of documents Ms. Sloat forwarded to herself on

October 1, 2020, the day she notified Mr. Santiago that she was leaving Tricoci. Perhaps to

Plaintiff’s disappointment, Ms. Sloat forwarded herself these documents not for the purpose of

disseminating them to a third-party but rather to prepare a transition report for Mr. Santiago prior

her to departure. (Ex. 8, Sloat deposition pp: 73:16 – 74:13; 151:19- 155:22; Q: Did you send

anything to your personal e-mail address from your Tricoci e-mail address in the last two weeks

that you worked there? A: Yes. Q:What did you send to yourself? A: I sent myself a handful of

files as I was preparing to create a transition report…So I did pull several files. I created

spreadsheets of what my team did. I did an overview of what the e-mail calendar was, what the

budgets were, and what the remainder of the marketing calendar was through the end of the year).

Ms. Sloat again testified that none of this information was ever disseminated to a third-party. (Ex.

9, Sloat deposition 21:18 – 22:1; Q: In the fifth paragraph on that e-mail, you say that you will not

disseminate Tricoci information. And then you say, quote, none of these documents have been

shared. Do you see that? A: Correct. Q: Is that still true today? A: Yes, it is. Q: Did you share any

Tricoci information with Ms. Poccia after she stopped working for Tricoci? A: I did not. Q:

Anyone at Fekkai? A: No, never.

C.      Tricoci has not Confirmed one Instance of Sloat Disseminating Tricoci Information.

     Although Plaintiff has the burden of proving its case, Tricoci’s own CEO is unable to point to

a single instance of dissemination of Tricoci information by Ms. Sloat. (Ex. 10, Santiago

deposition, pp. 178-189, see pp. 186:19-189:9; Q: As you sit here today, Mr. Santiago, do you



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have any evidence that Molly Sloat disseminated Tricoci confidential information to a third-party

other than Ms. Poccia? A: Yes. Q: What evidence is that? A: Emails Q: Which emails? A: Emails

that I have seen as part of this case. Q: And can you tell me what those are specifically? A: I don’t

have them in front of me). Plaintiff’s Reply brief is equally vague as it fails to point to a specific

instance of dissemination and blindly asserts, “the information Sloat forwarded to herself…are

trade secrets.” (ECF No. 121 at p. 12).

    Equally startling is Plaintiff’s inability to establish damages suffered by Tricoci as a result of

Ms. Sloat’s alleged conduct. When asked if Ms. Sloat’s conduct caused damage, Mr. Santiago

provided an incoherent response, ultimately conceding that he could not, after seven months of

litigation, establish damages. (Ex. 10, Santiago deposition, pp. 189-191: Q: Mr. Santiago, are you

contending that any dissemination of Tricoci confidential information by Molly Sloat has caused

damage to Tricoci? A: Absolutely Q: And what damage is that? A: Okay, as we had talked about

earlier in the testimony, there is a significant amount. In terms of having to redo strategy decks,

look at our branding, knowing what we knew about product that was coming up, our branding

guidelines, where we were going, what we are doing as a company, what markets we were going

to enter. I can go on and on. Q: Do you have a dollar amount as to the amount of damage Ms.

Sloat caused? A: We don’t know right now).2

    Mr. Santiago testified he spearheaded the effort to file a lawsuit against Ms. Sloat and Ms.

Poccia. (Ex. 10, Santiago deposition, p. 186: Q: Who within the Tricoci organization initiated the

lawsuit against Ms. Sloat and Ms. Poccia? A: The executive team. Q: And you are part of the

executive team; is that correct? A: Yes, that’s correct). His inability to specify what information



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 Counsel for Sloat had approximately 10 minutes to question Mr. Santiago in light of the three-hour time limitation.
Her questioning was repeatedly interrupted by inappropriate speaking objections by counsel for Tricoci who was
motivated to run the clock to avoid obtaining unfavorable testimony from her client.

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Sloat disseminated, to whom she disseminated it to, when the dissemination occurred and what

damages resulted from the unspecified conduct begs the ubiquitous question: if not now, when?

        Mr. Santiago’s evasive testimony demonstrates this lawsuit was initiated for the purpose

of harassing a valued employee who sought greener pastures. Despite Mr. Santiago’s sworn

declaration that Ms. Sloat’s performance had declined for a period of at least 6 months prior to her

departure (See ECF Dkt. 58, Ex. 1), he testified that her resignation was a detriment to Tricoci.

(Ex. 10, Santiago deposition, pp. 183-185: Q: …And did you think that Ms. Sloat was failing to

perform projects in a timely manner? A: Yes Q: And was her performance in general poor? A:

Poor? Q: Yes. A: In what time-period? Q: Between April 2020 and October 2020. A: It was

definitely going down. Q: Did you document any of this decline in performance or her inability to

meet deadlines? A: No. Q: So, I would have imagined that you must have been so relieved that she

was leaving, due to her poor performance, is that correct? A: Relieved that I am losing the vice-

president of marketing, that I put everything into? That’s a ridiculous statement).

        Ms. Sloat’s resignation from Tricoci undoubtedly struck a nerve with Mr. Santiago as he

wasted no time filing a lawsuit immediately after her departure from the company. It is clear Mr.

Santiago did not have proof of dissemination at the time he initiated lawsuit and has not been able

to uncover a single document in support of Tricoci’s position to date. Nor has Tricoci been able

to proffer probative evidence of imminent and irreparable harm that any alleged dissemination

(which did not occur) will cause. It is inconceivable that Plaintiff believes it is entitled to injunctive

relief in the form of restricting Ms. Sloat’s employment when it does not have evidence to support

its claims.




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                                      III.   ARGUMENT

A.     The Remedy Sought by Tricoci is Overbroad.

       Pursuant to the ITSA, a party seeking an injunction must prove both the existence of a trade

secret and the misappropriation. PepsiCo, Inc. v. Redmond, 54 F.3d 1262, 1268 (7th Cir. 1995).

It is further established that the ITSA should not “prevent workers from pursuing their livelihoods

when they leave their current positions.” Id. (citing American Can Co. v. Mansukhani, 742 F.2d

314, 329 (7th Cir. 1984)). Further, an injunction must not “[p]revent a person from entering into

an employment relationship,” and any applied limitations must not be based “merely on the

information the person knows.” 18 U.S.C. § 1836(b)(3)(A)(i)(II).

       Tricoci cannot point to one instance of dissemination but is seeking to enjoin Sloat from

“directly or indirectly being involved, in any manner, in the management performance of work, or

direction of any hair care product for Fekkai until December 2022.” Alternatively, Tricoci seeks

to enjoin Sloat from “directly or indirectly being involved, in any manner, in the relationship

between Fekkai and ULTA until December 31, 2022.” In other words, Tricoci is attempting to

prohibit Sloat from working in her current position for 17 months or having any involvement with

her employer’s primary distribution partner. This request is prohibitively restrictive and directly

contrary to Illinois law.

       Tricoci’s reliance on PepsiCo is further misplaced. In that instance, the Seventh Circuit

enjoined the defendant from working for a direct competitor for six months before he began

working for the company. PepsiCo, Inc., 54 F.3d at 1267. It was also revealed that the defendant’s

knowledge from his former competitor’s trade secrets and confidential information would

necessarily influence his decisions for his work with Quaker. Id.




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       Sloat testified that she has not and will not disseminate confidential information. Plaintiff

not only fails to allege that Sloat disseminated or intends to disseminate any Tricoci information,

it fails to assert how any information obtained and subsequently deleted by Sloat would influence

her work for Fekkai. Any inference that Sloat may have forwarded confidential information to

Defendant Poccia further falls flat as Sloat testified that she never sent Tricoci information to

Poccia after Poccia was terminated in March 2020. Triccoi has access to all emails sent by Sloat

from Tricoci’s server during her employment and thousands of emails sent by Sloat following her

resignation from Tricoci, yet fails to cite to one Tricoci email or document that Sloat threated to

disseminate or will inevitably disseminate nine months after she left the company. In sum, Tricoci

seeks to prevent Sloat from working for her current employer because she forwarded herself

Tricoci documents to her personal email while employed by Tricoci to perform work for the benefit

of Tricoci. This is contrary to all precedent and defies all logic.

B.     Sloat has not Disseminated Tricoci Information nor is There a Threat of Inevitable
       Disclosure.

       Under the inevitable disclosure theory, a plaintiff must prove there is intent by an employee

to disseminate a trade secret or the dissemination of a trade secret is threatened or would be

inevitable. Saban v. Caremark Rx, L.L.C., 780 F. Supp. 2d 700, 734 (N.D. Ill. 2010). It is typically

required that a plaintiff allege that the defendant “could not operate or function” in her new position

without reliance on the trade secrets. Packaging Corp. of Am., Inc. v. Croner, 419 F. Supp. 3d

1059, 1070 (N.D. Ill 2020). Courts examine three factors in an inevitable disclosure analysis: (1)

the level of competition between the former and new employer; (2) the similarity between the

employee's former and new positions; and (3) the actions the new employer has taken to prevent

the use or disclosure of the former employer's trade secrets. Id. The “mere fact that a person

assumed a similar position at a competitor” is not enough to state a claim for inevitable disclosure.

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Id.   However, plaintiffs must allege more than "the mere fact that a person assumed a similar

position at a competitor" to state a claim for inevitable disclosure. Id. Courts are aware that an

overly broad application of the inevitable disclosure doctrine can inhibit an employee’s interest in

seeking employment with a competitor. Triumph Packaging Group v. Ward, 834 F. Supp. 2d 796,

809 (N.D. Ill. 2011).

          In this instance, Sloat is not working for a direct competitor and any Tricoci information is

worthless to Fekkai. Apparently Tricoci believes that any company remotely linked to hair care

products, especially companies with an established retail line of products that Tricoci covets but

does not have, is a competitor. However, the desire to become a competitor does not make it so.

Importantly, it has not been alleged that Tricoci information would benefit Fekkai in any way.

While Sloat assisted Tricoci with the rebranding of its product line, her creative current work for

While Sloat assisted Tricoci with the rebranding of its product line, her creative current work for

Fekkai consists of overseeing the existing design and the current creative work for e-mails, for the

website, and digital ads. Sloat did not participate in the creative aspect of any Fekkai rebrand or

current packaging as this was in existence well before she began working for the company. (Ex.

11, Sloat Dep. at 30-31).

          As previously stated, no one from Fekkai has ever requested Tricoci information as it is

useless to them. In fact, it would be detrimental to Sloat’s career as a marketing professional to

mimic creative work performed for a regional salon for an internationally renowned brand such as

Fekkai.

                                           CONCLUSION

          Allegations that Sloat stole, used and will continue to use Tricoci confidential and trade

secret information for the benefit of Fekkai are unfounded, unsupported and disingenuous.



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Plaintiff’s failure to reference any evidence of dissemination of Tricoci information or a reason

why dissemination would benefit Ms. Sloat or her current employer further proves Tricoci’s desire

to legally harass and financially punish a valued employee for pursuing a new position in her

chosen field. For the foregoing reasons, Plaintiff’s Amended Motion for Preliminary Injunction

should be denied in its entirety.


Dated: July 12, 2021                                Respectfully submitted,

                                                    NIELSEN, ZEHE & ANTAS, P.C.

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                                    CERTIFICATE OF SERVICE

        The undersigned attorney, being first duly sworn upon oath, depose, and say that I caused
to be served the foregoing document by electronically filing the same with the Clerk for the U.S.
District Court for the Northern District of Illinois, Eastern Division, a copy of which was then
forwarded to each attorney of record by CM/ECF on July 12, 2021.


                                                    /s/Lindsay E Dansdill
                                                    Lindsay E. Dansdill, Esq.




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